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U.S. Department of Justice

Office of the Deputy Attorney General

Washington, D.C. 20530
March 7, 2025

Via ECF

Honorable Dale E. Ho

United States District Judge
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: United States v. Adams, No. 24 Cr. 556 (DEH)
Dear Judge Ho:

The Department of Justice respectfully submits this letter-motion, pursuant to Rule 9(e)(i)
of Your Honor’s Individual Practices, seeking sealing of Exhibits A—H to the Department’s March
7, 2025 Response In Support Of Motion To Dismiss Pursuant To Rule 48(a) (the “Response”).
The defendant consents to this request.

In the Response, the Department sought to strike an appropriate balance between the
public’s right of access, and the privacy interests of the attorneys at issue, by anonymizing the
participants to communications. The participants are the subjects of an ongoing investigation at
the Department. See Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir. 2006)
(explaining that “countervailing factors” against the presumption of access “include but are not
limited to ... and the privacy interests of those resisting disclosure”); United States v. Dwyer, 2016
WL 2903271, at *1 (S.D.N.Y. 2016) (reasoning that sealing is warranted to protect, inter alia, “the
privacy and reputation interests of those involved in an investigation”). Even to the extent
inferences regarding the identities of certain participants could be drawn based on connections to
public reporting, that is not the case for each of the individual participants. Accordingly, the
Department respectfully requests, with the defendant’s consent, that Exhibits A — H be maintained
under seal.

Respectfully submitted,

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Emil Bove
Principal Associate Deity Attorney General
United States Department of Justice

Ce: Defense Counsel
(Via ECF)
